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                                  UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF COLUMBIA



                                               ]
UNITED STATES OF AMERICA                       ]
                                               ]      Criminal No. 21-142
       v.                                      ]
                                               ]      Judge Nichols
SAMUEL FISHER                                  ]
                                               ]



                             MOTION TO WITHDRAW AS COUNSEL


       Petitioner Joanne Slaight respectfully moves to withdraw as counsel, and as grounds

therefore states the following:

       1.      Petitioner was appointed to represent defendant in the above-titled case on

February 19, 2021.

       2.      Another attorney entered his appearance in the case on October 25, 2022 (ECF 45),

and filed a motion on Mr. Fisher’s behalf (ECF 46).

       WHEREFORE, petitioner respectfully requests that she be granted leave to withdraw as

counsel in the above matter and that her appearance be stricken.




                              Respectfully submitted,


                                         /s/

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